






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00552-CV






Constellation Energy Commodities Group, Inc., Appellant


v.


Public Utility Commission of Texas, Appellee






DIRECT APPEAL FROM THE PUBLIC UTILITY COMMISSION OF TEXAS





M E M O R A N D U M   O P I N I O N


		The Public Utility Commission of Texas has filed a Motion to Extend Abatement
Pending Adoption of Amended Rule.  The deadlines in this case were originally abated on
February&nbsp;27, 2007, effective until June 25, 2007.  We grant the motion.

		This appeal is abated until further order of this Court.  The parties may file a motion
to lift the abatement based on changed circumstances.  This Court's order staying enforcement of
portions of the challenged rule, signed September 29, 2006, and modified by order signed
January&nbsp;12, 2007, remains in effect.  The Public Utility Commission of Texas shall file a report on
the status of this case by August 20, 2007.


						                                                                                     						G. Alan Waldrop, Justice

Before Justices Puryear, Pemberton and Waldrop

Abated

Filed:   July 13, 2007


